         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 1 of 20
     ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 1 of 19 Page ID #:1



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                         UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
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12
13
14    SECURITIES AND EXCHANGE                     Case No. 2:19-cv-2188
      COMMISSION,
15
                  Plaintiff,                      COMPLAINT
16
            vs.
17
     DIRECT LENDING INVESTMENTS,
18   LLC,
19
                  Defendan
20
21
22         Plaintiff Securities and Exchange Commission("SEC") alleges:
23                             JURISDICTION AND VENUE
24         1.     The Court has jurisdiction over this action pursuant to Sections 20(b),
25   20(d)(1) and 22(a) ofthe Securities Act of 1933 ("Securities Acr), 15 U.S.C. §§
26 77t(b), 77t(d)(1)& 77v(a), and Sections 21(d)(1), 21(cl)(3)(A), 21(e) and 27(a) ofthe
27 Securities Exchange Act of 1934("Exchange Acr), 15 U.S.C. §§ 78u(d)(1),
28 78u(d)(3)(A), 78u(e)& 78aa(a), and Sections 209(d), 209(e)(1) and 214 ofthe

     COMPLAINT                                    1
          Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 2 of 20
     ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 2 of 19 Page ID #:2




 1   Investment Advisers Act of 1940("Advisers Acf'), 15 U.S.C. §§ 80b-9(d), 80b-
 2 9(e)(1)& 90b-14.
 3         2.     Defendant has; directly or indirectly, made use ofthe means or
 4 instrumentalities of interstate commerce, ofthe mails, or of the facilities of a national
 5 securities exchange in connection with the transactions, acts, practices and courses of
 6 business alleged in this complaint.
 7         3.     Venue is proper in this district pursuant to Section 22(a) ofthe Securities
 8 Act, 15 U.S.C. § 77v(a), Section 27(a)ofthe Exchange Act, 15 U.S.C. § 78aa(a), and
 9 Section 214 ofthe Advisers Act, 15 U.S.C. § 80b-14, because certain ofthe
1.0 transactions, acts, practices and courses of conduct constituting violations ofthe
11   federal securities laws occurred within this district. In addition, venue is proper in
12 this district because Defendant has its principal place of business in this district.
13                                        SUMMARY
14         4.     This matter concerns a multi-year fraudperpetrated by Defendant Direct
15   Lending Investments, LLC("Dix), a registered investment adviser, through its then-
16 principal, Brendan Ross("Ross"), which resulted in approximately $11 million in
17 over-charges of management and performance fees to fund investors, and the
18   inflation of DLI's private funds' returns.
19         5.     DLI advises a private fund structure that invests in various lending
20 platforms, including Quarterspot, Inc.('QuarterSpor), an online small business
21   lender. Management at DLI recently discovered that for years, Ross, DLI's 100%
22 owner and then-chief executive officer, arranged with QuarterSpot to falsify borrower
23 payment information for QuarterSpot's loans and to falsely report to DLI that
24 borrowers made hundreds of monthly payments when, in fact, they had not.
25         6.     According to a senior executive representative of DLI,rnany ofthese
26 loans should have been valued at zero, but instead were valued at par, because ofthe
27 false payments Ross helped engineer. The effect ofthis was that, between 2014 and
28 2017,DLI cumulatively overstated the valuation of its Quarterspot position by

     COMPLAINT                                     2
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 3 of 20
     ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 3 of 19 Page ID #:3




 1   approximately $53 million and misrepresented the Funds' performance by
 2 approximately two to three percent annually. As a result, DLI collected roughly $11
 3   million in excess management and performance fees from the Funds that it would not
 4 have otherwise collected, had the Quarterspot position been accurately valued.
 5         7.     By engaging in this conduct, DLI violated Section 10(b) ofthe Securities
 6 Exchange Act of 1934("Exchange Act") and Rule 10b-5 promulgated thereunder,
 7 Section 17(a) ofthe Securities Act of 1933 ("Securities Act"), and Sections 206(1),
 8 206(2), and 207 ofthe Investrnent Advisers Act of 1940("Advisers Act").
           8.     The SEC seeks a preliminary injunction and appointment of a permanent
10 receiver; permanent injunctions; disgorgement with prejudgment interest, and civil
11   penalties.
12                                   THE DEFENDANT
13         9.     Defendant Direct Lending Investments, LLC is an SEC registered
14 investment adviser with its principal place of business in Glendale, California. It
15   advises a private fund structure comprised oftwo "feeder" funds (Direct Lending
16 Income Fund,L.P. and Direct Lending Income Feeder Fund, Ltd.) and a "master"
17 fund(DLI Capital, Inc.)(collectively, the "Funds")and is solely responsible for the
18 Funds' management. According to its latest SEC Form ADV Part 1 A filing on
19 February 25, 2019,DLI had approximately $866,300,000 in assets under
20 management as of May 31, 2018.
21                          OTHER PERSONS AND ENTITIES
22         10.    Brendan Ross is the 100% owner and was until recently the chief
23   executive officer of DLI.
24         11.    QuarterSpot,Inc. is a private company located in New York that
25   provides online lending services to small businesses and retailers.
26                                  THE ALLEGATIONS
27         A.     DLI's Business
28         12.    DLI was founded by Ross in 2012, and he was its CEO until his

     COMPLAINT                                   3
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 4 of 20
     ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 4 of 19 Page ID #:4



     resignation on March 18, 2019.
            13.   Its primary investment focus is on buying loans, participating in loans,
 3 and owning credit facilities and other structures where loans and other assets serve as
 4 collateral.
 5          14.   DLI has at times described its "typical investments" as consisting of
 6 "$50-200 million asset-backed credit facilities to a diverse group of specialty finance
 7 companies, special purpose vehicles and other counterparties ... across the small
 8 business, consumer, receivables, real estate and other sectors."
 9          15.   DLI charges clients both a management fee and a performance fee on the
10 Funds' assets. The management fee is calculated as 1% ofthe master fund's gross
11   asset value plus beginning of month subscriptions less redemptions. The
12 performance fee is incurred when the master fund's net asset value exceeds its prior
13   high net asset value and is calculated as 20% ofthese earnings before interest and
14 taxes.
15          16.   DLI has regularly communicated with Fund investors through monthly
16 investor letters signed by Ross and an investor portal.
17          17.   The monthly letters have typically included statements regarding the
18 amount of DLI's assets under management and returns on investment broken out by
19   month.
20          18.   The investor portal has at times provided investors with access to
21   detailed information on DLI's asset portfolio and its specific counterparties, including
22 the valuation of its various counterparty positions by unpaid principal balance and the
23 profits and losses information (including gross income and changes in loss reserves
24   data)for those counterparty positions over different periods oftime.
25          19.   DLI's assets under management are reported in the Forms ADV that DLI
26 files with the SEC.
27          20.   In its marketing materials, DLI has touted its strong, consistent returns to
28 its investors. For example, DLI "fact sheets" marketed its 10-12% returns, no lock-

     COMPLAINT
          Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 5 of 20
      ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 5 of 19 Page ID #:5



      up, and monthly(35-day) liquidity.
 2          21.    In multiple written communications with potential and actual investors
 3 spanning at least October 2015 to June 2016, Ross highlighted the Funds'"10-12%
 4 returns net to investors with no down months," as well as the fact that defaults could
 5' be as high as 20% without any loss of principal to investors.
 6          B.    MA's Relationship with QuarterSpot
 7          22.   Quarterspot is one of DLI's longest standing Fund investments, and its
 8 principals are close business associates of Ross.
 9          23.   On its website, Quarterspot advertises its "lower rates without personal
10 guarantees or credit checks" and its ability to provide working capital in as little as 24
11    hours.
1.2         24.   In August 2013, DLI entered into an agreement with Quarterspot where
13    it agreed to purchase "unsecured payment dependent promissory notes(`Spots')from
14    Quarterspot."
15          25.   Under the terms of this arrangement, Quarterspot would continue to
16 service the loans and keep a service fee, or "investor fee," that was later
17 memorialized in several internal and audit-related documents at 17.5% of interest
18 collected.
19          26.   Between August 2013 and June 2017, DLI's Quarterspot position (loan
20 principal plus cash value) increased significantly from $427,333 to $149,608,733.
21          27.   In late September 2017, DLI entered into a transaction to sell
22 approximately $55 million ofthe Quarterspot assets at par to DL Global Ltd.("DL
23    Global"), an investment vehicle run by one of Ross's business associates, with
24 foreign investors.
25          28.   Ross personally guaranteed the performance ofthe Quarterspot assets
26 sold in the transaction, and further pledged his equity interest in DLI as collateral for
27 the guarantee. The transaction resulted in DLI's position in Quarterspot(loan
28 principal plus cash value) dropping from $139,756,336 to $71,506,605 between

      COMPLAINT                                   5
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 6 of 20
     ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 6 of 19 Page ID #:6




     August and September 2017.
 2         29.     DLI remained involved in processing the loan information for the
 3 Quarterspot loans after those loans were sold to DL Global.
 4         30.     As part ofDLI's monthly reporting and closing process, Quarterspot is
 5 required to provide DLI with loan-level data, including performance figures for each
 6 loan.
 7         31.     DLI used this loan-level information to determine how the QuarterSpot
 8 loans are performing, and to create a monthly closing report and valuation for the
 9 QuarterSpot position.
10         32.     The monthly fair values of Quarterspot and each ofthe Funds' other
11   investments are used to determine the aggregate fair value ofthe Funds' portfolio and
12 in turn, the master fund's value.
13         33.     Monthly management fees are calculated based on the gross asset value
14 ofthe master fund.
15         34.     The net asset value ofthe master fund serves as the basis for calculating
16 that month's performance fees and the monthly returns reported to current and
17 prospective investors.
18         35.     According to a senior DLI representative, for DLI's Quarterspot
19 position, every single dollar paid (or not paid) on a given loan impacts DLI's
20 financials.
21         C.      Ross's Scheme to Manipulate Quarterspot's Payment Data
22         36.     Between 2014 and at least February 2018, Ross knew of problems with
23 the quality of DLI's Quarterspot loan portfolio and actively took steps to conceal
24 these issues.
25         37.     Email communications between Ross and Quarterspot's principals
26   between 2014 to early 2018,frequently from his personal email account and always
27 without copying anyone else from DLI,show that Ross encouraged Quarterspot to
28   manipulate the loan-leverinformation that it reported to DLI,including both directing

     COMPLAINT                                    6
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 7 of 20
     ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 7 of 19 Page ID #:7




 1   QuarterSpot to delay recognizing delinquent loans, and falsifying borrower payment
 2 information to make it appear as though payments had been made by borrowers,
 3   when they had not.
 4         38.    More specifically, Ross regularly emailed QuarterSpot principals at the
 5   beginning of each month spreadsheets that appear to contain falsified payment figures
 6 that Ross was directing Quarterspot to apply to certain non-performing loans.
 7         39.   For example, on March 8, 2014,Ross sent QuarterSpot's principals an
 8 email titled "Late Loans.," where he noted "alvery substantial number of Late loans
 9 that are not written off', describing the problem as "scary" and saying "I need to
10 understand how we get out of the woods that we're in right now, where you are using
11   up equity to make up for the underwriting, which is scary as hell for both of us."
12         40.    On January 18, 2015, Ross emailed QuarterSpot's principals
13 spreadsheets titled "Payrnents 12-31-2014" and "LateLoans," that appear to direct
14   Quarterspot to add borrower payments for 42 loans that totaled $13,734 before
15   sending the information to others at DLI.
16         41.   On February 8,2015, Ross emailed QuarterSpot's principals, expressing
17 concern that "more loans are going late each month than I can afford and still have
18 normal returns, so that the can we are kicking down the road is growing in size," and
19 asking QuarterSpot to send "a version ofthe Late Loans report that has their true,
20   non-quarterspot Last Posted date."
21         42.   On February 3, 2016, Ross emailed QuarterSpot that "quite a few of
22 these loans have Payment amounts of 50, 100, or 200," noting that "they will stick
23 out and should be reverted back to their normal payrnent amount for these late loans."
24         43.   On August 7, 2017, QuarterSpot informed Ross, using his personal
25 rather than his DLI email address, that it planned to add values for borrowers who did
26 not make payments; Ross responded,"Do you want to permanently edit the
27 `Payment' field for those borrowers, inserting $150 or something like that? Seems
28 like there should be a value in the database for them."

     COMPLAINT                                   7
          Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 8 of 20
     ase 2:19-cv-02188-DSF-MRW DocUment 1 Filed 03/22/19 Page 8 of 19 Page I.D #:8




           44.    The spreadsheets that Ross regularly sent to Quarterspot at the
 2 beginning of each month often had "BR" or "BRpays" in their titles and included
 3 falsified monthly payment figures that in some cases included hundreds ofloans in a
 4 given month.
 5         45.   The total value ofthe falsified payment figures in a given month ranged
 6 from just under $20,000 to just under $100,000.
 7         46.   In many ofthese emails, Ross directed Quarterspot to apply the
 8 fictitious payrnent figures and to then send on the information to DLI's finance team.
 9         47.    According to a company representative, up until at least February 2018,
10 the falsified borrower payments that Ross directed Quarterspot to make were
11   included in what Quarterspot reported to DLI on a monthly basis.
12         48.   A recent analysis by DLI also showed that the money that was falsely
13   labeled borrower payments likely came from Quarterspot rebating its servicing fees,
14   meaning that Quarterspot did not take portions of its fees during certain months and
15 that these amounts were paid or credited to DLI but disguised as loan borrower
16 payments to give the false impression that the underlying loans were performing.
17         49.   Any reasonable investor would have believed it important to know that.
18 Ross was manipulating and falsifying data necessary to value the Funds' position in
19 Quarterspot and DLI's managernent fees.
20         50.   Ross acted knowingly, recklessly, and negligently in deceiving DLI,the
21   Funds,Fund investors, and others at DLI, concerning the Quarterspot loan quality
22 and performance, and failed to exercise reasonable care to ensure that Fund investors
23   were not deceived as to this information.
24         D.    Material Misstatements of DLI's Funds' Fees and Performance
25         51.   According to a representative of DLI, Ross's falsification of borrower
26 payment information led DLI to value many ofthe nonperforming Quarterspot loans
27 at par when the values should have been reduced to zero.
28         52.   Even though DLI still received money frorn Quarterspot in the form of

     COMPLAINT                                   8
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 9 of 20
     ase 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 9 of 19 Page ID #:9



 1   rebated fees, the false payment data undermined DLI's ability to assess the credit of
 2 the underlying loans, which should have been considered defaulted.
 3         53.    This caused the QuarterSpot position to be overvalued and the Funds'
 4 net asset value to be inflated.
 5         54.    According to a DLI representative, the falsified QuarterSpot borrower
 6 payment information Jed DLI to materially overstate the valuation of its QuarterSpot
 7 position by an approximate cumulative amount of$53 million between 2014 arid
 8 2017.
 9         55.    According to a DLI representative, the incorrect valuation ofthe
10 QuarterSpot position resulted in DLI overstating the Funds' heavily marketed returns
11   by an approximate 2-3% on an annual basis between 2014 and 2017, with the most
12 significant effect felt earlier in time when the QuarterSpot position was a larger
13   percentage of the DLI portfolio.
14         56.   According to a company representative, the false valuation and
15   performance figures for the Quarterspot position resulted in DLI collecting roughly
16 $11 million in excess management and performance fees through 2017.
17         57.    According to a DLI representative, Ross's manipulation of borrower
18 payment data for loans held by the Funds likely continued up until at least February
19 2018.
20         58.   Any reasonable investor would have wanted to know that DLI was
21   overcharging management and performance fees and that the Funds' returns were
22 overstated.
23         59.   Ross acted knowingly, recklessly, and negligently in materially
24   misstating the Funds' valuation, performance, and fees, and failed to exercise
25 reasonable care to ensure that Fund investors received the Funds' true valuation,
26 performance and fees.
27         E.    Ross's Recent Resignation from DLI
28         60.   In October 2018, a debt collector for DLI's QuarterSpot loan portfolio

     COMPLAINT                                   9
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 10 of 20
     se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 10 of 19 Page ID #:10




 1   informed a representative ofDLI that certain borrower payment data on DLI's books
 2 did not match data the collector had received directly from QuarterSpot.
 3         61.    When that DLI representative confronted Quarterspot, Quarterspot's
 4 representatives indicated it was "an IT issue" and that Quarterspot would work it out.
 5         62.   In December 2018, a DLI employee responsible for debt collection
 6 spoke to a Quarterspot representative, who said the borrowers identified as having
 7 made small payments had not actually made the payments.
 8         63.    When next asked about this issue in or about January 2019,the
 9 Quarterspot representatives refused to answer and directed the DLI representative to
10 Ross,'who denied knowledge ofthe false payments.
11         64.   On February 11, 2019, DLI announced to Fund investors that the Funds
12 had suspended withdrawals and redernptions because one of DLI's largest
13 counterparties, VOIP Guardian Partners I, LLC("VOIP Guardiae), had ceased
14   making payments on a $192 million loan. DLI indicated in its announcement that it
15   suspected that the cessation of payments was likely a result of undetermined
16   misconduct and that a substantial portion of the outstanding $160 million loan
17 balance may not be recoverable.
18         65.   On March 19, 2019,DLI announced to Fund investors that another of
1•9 the Funds' positions, Quarterspot, may have been materially overstated for a period
20 of years, and that, following the request of DLI's management committee that he take
21   a leave of absence, Ross had formally resigned all positions at DLI on March 18,
22 2019 and had ceded control to its management comrnittee.
23         F.    Defendant DLI is an Investment Adviser
24         66.   Defendant DLI is an investment adviser registered with the SEC.
25         67.   It acted as an investment adviser to the Funds because it advised the
26 Funds about investing in securities and received compensation in the forrn of a
27 .percentage of assets managed and a performance fee.
28         68.   As an investment adviser, DLI owed the Funds a fiduciary duty and was

     COMPLAINT                                  10 •
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 11 of 20
     se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 11 of 19 Page ID #:11




     prohibited from making untrue statements of material fact or from omitting to state
 2 material facts necessary to make its statements not misleading. Through Ross's
 3 conduct, which is imputed to DLI because he was chief executive officer and 100%
 4 owner, DLI violated these obligations, by the acts alleged in this Complaint.
 5         G.      The Limited Partnership Interests in the Funds Are Securities
 6         69.     Investor funds were pooled in the Funds to finance various ventures that
 7 DLI would choose to invest in.
 8         70.     The investors in the Funds were dependent on the success of the
 9 underlying businesses to generate their return, while DLI was also dependent on the
10 success ofthe businesses because the DLI management and performance fees were
11   directly tied to how the positions grew and performed, respectively.
12         71.     The efforts ofDLI and Ross in allocating capital and managing the
13 Funds' investments were critical to the enterprise's success, as there is no indication
14 that investors in the Funds played an active role in managing DLI's investment
15   decisions.
16                               FIRST CLAIM FOR RELIEF
17                              Fraud by an Investment Adviser
18                Violations of Sections 206(1)and 206(2) of the Advisers Act
19                                  (against Defendant DLI)
20         72.     The.SEC realleges and incorporates by reference paragraphs 1 through
21   71 above.
22         73.     DLI breached its fiduciary duties when it defrauded its clients, the
23 Funds, by fabricating borrower payment figures and otherwise manipulating
24 information concerning the value ofthe underlying loans, which caused the Funds to
25 pay materially inflated management and performance fees. The effect ofthis was to
26 rnake the QuarterSpot loans look stronger than they were, which made DLI's
27 QuarterSpot investment appear sounder, which inflated the Funds' assets, valuation,
28   and performance numbers. Information concerning the viability and profitability of

     COMPLAINT                                    11
          Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 12 of 20
      se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 12 of 19 Page ID #:12




  1   the QuarterSpot investment, which for many years exceeded $100 million in DLI's
  2 portfolio, was certainly material to the Funds' valuation and performance data, as
  3 confirmed by a representative of DLI.
  4         74.    The false information regarding the QuarterSpot loans also materially
      impacted the management and performance fees that DLI charged the Funds. As a
  6 result of this manipulation concerning the value of DLI's QuarterSpot position, the
  7 Funds were charged roughly $11 million in excess management and performance fees
  8 between 2014 and 2017.
  9         75.    Ross, whose scienter and negligence can be imputed to DLI, was fully
 10 aware ofthe underlying manipulation of loan-level data and appears to have directed
 11   that process, seemingly for the very purpose of mismarking the Funds' assets and
 12 inflating their performance numbers.
 13         76.    By engaging in the conduct described above, Defendant DLI, directly or
 14   indirectly, by use ofthe mails or means and instrumentalities of interstate commerce,
 15   knowingly, recklessly or negligently: (a)employed or is employing devices, schemes
 16 or artifices to defraud clients or prospective clients; and(b)engaged in or is engaging
'
17 in transactions, practices, or courses of business which operated as a fraud or deceit
 18   upon clients or prospective clients.
 19         77.    By engaging in the conduct described above, Defendant DLI has
20 violated, and unless restrained and enjoined, is reasonably likely to continue to
 21   violate, Sections 206(1) and (2)of the Advisers Act, 15 U.S.C. §§ 80b-6(1)& 80b-
22 6(2).
23                             SECOND CLAIM FOR RELIEF
24            Fraud in the Connection with the Purchase and Sale of Securities
25             Violations of Section 10(b)of the Exchange Act and Rule 10b-5
26                                  (against Defendant DLI)
27          78.    The SEC realleges and incorporates by reference paragraphs 1 through
28 71 above.

      COMPLAINT                                  12
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 13 of 20
     se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 13 of 19 Page ID #:13



           79.    DLI made false and misleading statements and engaged in deceptive
 2 conduct towards the investors in its Funds. Through its investor letters and investor
 3   portal, DLI provided the Funds' investors with information concerning its assets
 4 under management,the valuation of different positions within its portfolio, and the
 5   performance of its different loan platforms, including QuarterSpot. The information
 6 that DLI provided to investors regarding QuarterSpot was false and misleading
 7 because it was based on fabricated underlying loan level data that concealed the true
     delinquency levels for the Quarterspot loan portfolio, thereby masking the true
 9 performance and valuation ofDLI's Quarterspot position. This in turn caused DLI to
10   make false and misleading statement to the Funds' investors about the management
11   and performance fees that the Funds owed.
12         80.    The misrepresentations made by DLI were material because investors in
13 the Funds would have considered it irnportant to their investment decisions to have
14 accurate information concerning the financial stability ofthe underlying platforms in
15   which the Funds were investing their money, as that could directly impact their
16   ability to receive back their principal investments and achieve the high returns that
17 DLI advertised. The misrepresentations were also material because they directly
18 impacted the management and performance fees that DLI charged the Funds,thereby
19   diminishing the returns flowing to the investors.
20         81.    DLI knew, or was reckless in not knowing,that its statements regarding
21   its QuarterSpot position, including the valuation and performance ofthat position,
22   were false or misleading b)ecause it was Ross himself who manipulated the
23   underlying borrower payment information, creating a situation where the QuarterSpot
24 position could not be properly valued or its performance assessed. Ross's use of his
25   personal email account to communicate with QuarterSpot about adjusting the
26 borrower payment information is further evidence of his efforts to conceal his
27 conduct and his fraudulent intent. Ross's scienter can be imputed to DLI.
28         82.    Ross, DLI's principal, knowingly engaged in a multi-year scherne to

     COMPLAINT                                   13
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 14 of 20
     se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 14 of 19 Page ID #:14




     mask the poor performance of one ofthe Funds' largest investrnents, Quarterspot.
 2 The principal purpose and effect of this was to allow the Funds to delay recognizing
 3 losses on the QuarterSpot position, which could have threatened DLI's ability to
 4 attract or maintaiffinvestors and eroded its ability to cite the strong performance of
 5 the Funds. Ross committed acts in furtherance ofthe scheme by routinely falsi&ing
 6 borrower payment entries for Quarterspoes loans. This scheme had a material effect
 7 on the information that DLI provided to the investors in the Funds.
 8         83.    By engaging in the conduct described above, Defendant DLI, directly or
 9 indirectly, in connection with the purchase or sale of a security, by the use of means
10 or instrumentalities of interstate cornmerce, ofthe mails, or ofthe facilities of a
11   national securities exchange: (a)employed devices, schemes, or artifices to defraud;
12 (b) made untrue staternents of a material fact or omitted to state a rnaterial fact
13   necessary in order to make the statements rnade, in the light ofthe circumstances
14   under which they were made, not misleading; and (c)engaged in acts, practices, or
15   courses of business which operated or would operate as a fraud or deceit upon other
16   persons.
17         84.    Defendant DLI, with scienter, employed devices, schemes and artifices
18 to defraud; made untrue statements of a material fact or omitted to state a material
19 fact necessary in order to make the statements made, in the light ofthe circumstances
20 under which they were made, not misleading; and engaged in acts, practices or
21   courses of conduct that operated as a fraud on the investing public by the conduct
22 described in detail above.
23         85.    By engaging in the conduct described above, Defendant DLI violated,
24 and unless restrained and enjoined will continue to violate, Section 10(b) ofthe
25 Exchange Act, 15 U.S.C. § 78j(b), and Rules 10b-5(a), 10b-5(b), and 10b-5(c)
26 thereunder, 17 C.F.R. §§ 240.10b-5(a), 240.10b-5(b)& 240.10b-5(c).
27
28

     COMPLAINT                                    14
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 15 of 20
     se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 15 of 19 Page ID #:15




                               THIRD CLAIM FOR RELIEF
 2                         Fraud in the Offer or Sale of Securities
 3                     Violations of Section 17(a) of the Securities Act
 4                                 (against Defendant DLI)
 5         86.    The SEC realleges and incorporates by reference paragraphs 1 through
 6 71 above.
 7         87.    DLI engaged in deceptive conduct and obtained money by means false
 8   and misleading statements to the investors in its Funds. Thrnugh its investor letters
 9 and investor portal, DLI provided the Funds' investors with information concerning
10 its assets under management, the valuation of different positions within its portfolio,
11   and the performance of its different loan platforms, including Quarterspot. The
12 information that DLI provided to investors regarding QuarterSpot was false and
13   misleading because it was based on fabricated underlying loan level data that
14 concealed the true delinquency levels for the QuarterSpot loan portfolio, thereby
15   masking the true performance and valuation of DLI's QuarterSpot position. This in
16 turn caused DLI to make false and misleading statement to the Funds' investors about
17 the management and performance fees that the Funds owed.
18         88.    The misrepresentations made by DLI were material because investors in
19 the Funds would have considered it important to their investment decisions to have
20 accurate information concerning the financial stability ofthe underlying platforms in
21   which the Funds were investing their money, as that could directly impact their
22 ability to receive back their principal investments and achieve the high returns that
23 DLI advertised. The misrepresentations were also material because they directly
24 impacted the management and performance fees that DLI charged the Funds,thereby
25   diminishing the returns flowing to the investors.
26         89.    DLI's statements regarding its Funds' performance and assets under
27 management were pillars of its marketing strategy that brought investors to the
28 Funds. By inflating those key metrics through manipulation ofthe Quarterspot loan

      COMPLAINT                                  15
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 16 of 20
     se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 16 of 19 Page ID #:16




     figures, DLI was able to recruit and maintain investors in the Funds on whose assets
 2 it could charge management and performance fees, thereby obtaining money by
 3   means of the misrepresentations.
 4         90.    DLI knew, or at a minimum was negligent in not knowing, that its
 5 statements regarding its QuarterSpot position, including the valuation and
 6 performance ofthat position, were false or misleading because it was Ross himself
 7 who manipulated the underlying borrower payment information, creating a situation
 8 where the Quarterspot position could not be properly valued or its performance
 9 assessed. Ross's use of his personal email account to communicate with Quarterspot
10 about adjusting the borrower payment information is further evidence of his efforts to
11   conceal his conduct and his fraudulent intent. Ross's scienter and negligence can be
12 imputed to DLI.
13         91.    By engaging in the conduct described above, Defendant DLI, directly or
14 indirectly, in the offer or sale of securities, and by the use of rneans or instruments of
15 transportation or cornmunication in interstate commerce or by use ofthe mails
16 directly or indirectly: (a)employed devices, schemes, or artifices to defraud;(b)
17 obtained money or property by means of untrue statements of a material fact or by
18   omitting to state a material fact necessary in order to make the statements made, in
19 light ofthe circumstances under which they were rnade, not misleading; and (c)
20 engaged in transactions, practices, or courses of business which operated or would
21   operate as a fraud or deceit upon the purchaser.
22         92.    Defendant DLI with scienter, employed devices, schemes and artifices to
23   defraud; with scienter or negligence, obtained money or property by means of untrue
24 statements of a material fact or by omitting to state a material fact necessary in order
25 to make the statements made, in light ofthe circumstances under which they were
26 made, not misleading; and, with scienter or negligence, engaged in transactions,
27 practices, or courses of business which operated or would operate as a fraud or deceit
28   upon the purchaser.

      COMPLAINT                                  16
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 17 of 20
     se 2:19-cv-02188-DSF-MRW Docurnent 1 I Filed 03/22/19 Page 17 of 19 Page ID #:17



 1         93.    By engaging in the conduct described above, Defendant DLI violated,
 2 and unless restrained and enjoined will continue to violate, Sections 17(a)(1),
 3   17(a)(2), and 17(a)(3) ofthe Securities Act, 15 U.S.C. §§ 77q(a)(1), 77q(a)(2), &
 4 77q(a)(3).
 5                             FOURTH CLAIM FOR RELIEF
 6                                     False Forms ADV
 7                    Violations of Section 207 and of the Advisers Act
 8                                 (against Defendant DLI)
 9         94.    The SEC realleges and incorporates by reference paragraphs 1 through
10 71 above.
11         95.    DLI violated Section 207 by filing multiple annual amendments to its
12 Forms ADV between 2014 and March 2018 that included materially inflated numbers
13 for the adviser's regulatory assets under management and for the Funds' gross asset
14   values. These numbers were inflated because they were based on a valuation for the
15   QuarterSpot position that was materially false due to Ross's falsification ofthe
16   underlying loan-level performance data.
17         96.    By engaging in the conduct described above, Defendant DLI, directly or
18   indirectly, willfully made untrue statements of material fact in any registration
19   application or report,filed with the Commission under section 203, or 204, ofthe
20 Advisers Act and willfully omitted to state in any such application or report any
21   material fact which is required to be stated therein.
22         97.    By engaging in the conduct described above, Defendant DLI has
23   violated, and unless restrained and enjoined, is reasonably likely to continue to
24   violate, Section 207 ofthe Advisers Act, 15 U.S.C. § 80b-7.
25                                 PRAYER FOR RELIEF
26         WFIEREFORE,the SEC respectfully requests that the Court:
27                                              I.
28         Issue findings offact and conclusions of law that Dqfendant committed the

     COMPLAINT                                    17
         Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 18 of 20
     se 2:19-cv-02188-DSF-MRW Document 1 Filed 03/22/19 Page 18 of 19 Page ID #:18




     alleged violations.
 2
 3         Issue judgments, in forms consistent with Rule 65(d) ofthe Federal Rules of
 4 Civil Procedure, preliminarily and permanently enjoining Defendant DLI, and its
 5   officers, agents, servants, employees and attorneys, and those persons in active
 6 concert or participation with any ofthem, who receive actual notice ofthe judgment
 7 by personal service or otherwise, and each ofthem,from violating Sections 206(1),
 8 206(2), and 207 of the Advisers Act[15 U.S.C. §§ 15 U.S.C. § 80b-6(1), 80b-6(2),
 9 80b-7]; Section 10(b) ofthe Exchange Act[15 U.S.C. §§ 78j(b)] and Rule 10b-5
10 thereunder [17 C.F.R. § 240.10b-5]; and Section 17(a) ofthe Securities Act[15
11   U.S.C. §77q(a)]; and imposing a receiver over DLI and its successors, affiliate
12 entities, and subsidiaries.
13
14         Order Defendant to disgorge all funds received from their illegal conduct,
15 together with prejudgment interest thereon.
16                                             IV.
17         Order Defendant to pay civil penalties under Section 20(d)ofthe Securities
18 Act[15 U.S.C. § 77t(d)], Section 21(d)(3)ofthe Exchange Act[15 U.S.C. §
19 78u(d)(3)]; and Section 209(e)(1) ofthe Advisers Act[15 U.S.C. § 80b-9(e)(1)].
20                                              V.
21         Retain jurisdiction ofthis action in accordance with the principles of equity and
22 the Federal Rules of Civil Procedure in order to implement and carry out the terms of
23   all orders and decrees that may be entered, or to entertain any suitable application or
24   motion for additional relief within the jurisdiction ofthis Court.
25                                             VI.
26         Grant such other and further relief as this Court may determine to be just and
27 necessary.
28

     COMPLAINT                                    18
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             Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 19 of 20
          se 2:19-cv-02188=DSF-MRW Document 1 Filed 03/22/19 Page 19 of 19 Page ID #:19




          Dated: March 22, 2019
     2                                           /s/Amy Jane Longo
      3                                          Amy Jane Longo
                                                 Lynn M.Dean
     4                                           Christopher A. Nowlin
      5                                          Attorneys for Plaintiff
                                                 Securities and Exchange Commission
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          COMPLAINT                             19
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Case 2:19-mc-03862-WKW Document 1-1 Filed 04/11/19 Page 20 of 20




                              l hereby attest and certify on L1 li4
                              that the foregoing document is a full,true
                              and correct copy of the original on,file in
                              my office, and in my legal custody.

                                CLERK U.S. DISTRICT COURT
                              CENT   DISTRICT OF ALIFORN1A


                                          DEPUTY CLERK
